                                           Case 09-13911-KG                  Doc 1         Filed 11/05/09                 Page 1 of 17
B 1 (Official Form 1) (1/08)
                                      United States Bankruptcy Court                                                                   Voluntary Petition
                                            District of Delaware
 Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
 Lazy Days’ R.V. Center, Inc.                                                                         N/A
 All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
 Lazydays RV SuperCenter; Lazydays RV Center; Lazy Days R.V. Insurance                                N/A
 Center; Lazy Days’ R.V. Center, Inc. d/b/a/ Used RV Liquidators, Better RVing,
 Lazy Days
 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete                        Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)
 EIN (if more than one, state all): XX-XXXXXXX                                                        No./Complete EIN (if more than one, state all):
 Street Address of Debtor (No and Street, City, and State):                                           Street Address of Joint Debtor (No and Street, City, and State):
 6130 Lazy Days Boulevard                                                                             N/A
 Seffner, FL
                                                      ZIP CODE: 33584-2968                                                                            ZIP CODE:
 County of Residence or the Principal Place of Business: Hillsborough County                          County of Residence or the Principal Place of Business: N/A
 Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
                                                                                                      N/A
                                                      ZIP CODE:                                                                                       ZIP CODE:
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                      ZIP CODE:
                  Type of Debtor                                         Nature of Business                                 Chapter of Bankruptcy Code Under Which
                                                      (Check one box.)                                                         the Petition is Filed (Check one box.)
             (Form of Organization)
                                                           Health Care Business.                                            Chapter 7                Chapter 15 Petition for
                (Check one box)
                                                           Single Asset Real Estate as defined in                           Chapter 9                Recognition of a Foreign
                                                           11 U.S.C. § 101(51B)                                             Chapter 11               Main Proceeding
       Individual (Includes Joint Debtors)
       See Exhibit D. on page 2 of this form.              Railroad                                                         Chapter 12               Chapter 15 Petition for
       Corporation (includes LLC and LLP)                  Stockbroker                                                      Chapter 13               Recognition of a Foreign
       Partnership                                         Commodity Broker                                                                          Nonmain Proceeding
       Other (If debtor is not one of the above            Clearing Bank
                                                           Other                                                                            Nature of Debts
 entities, check this box and state type of entity
 below.)                                                    Recreational Vehicle Retailer                         w                         (Check one box.)
                                                                         Tax-Exempt Entity                                  Debts are primarily consumer primarily debts,
                                                                      (Check box, if applicable.)                     defined in 11 U.S.C. § 101(8) as “incurred by an individual
                                                           Debtor is a tax-exempt organization                        primarily for a personal, family or house-hold purpose.”
                                                           under Title 26 of the United States Code
                                                           (the Internal Revenue Code).                                     Debts are primarily business debts.

                                                                                                                         Chapter 11 Debtors
                                   Filing Fee (Check one box)                                 Check one box:
                                                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
      Full Filing Fee attached.
      Filing Fee to be paid in installments (Applicable to individuals only)
                                                                                                  Debtor is a not small business debtor as defined in 11 U.S.C. § 101(51D).
      Must attach signed application for the court’s consideration certifying that the
                                                                                              Check if:
      debtor is unable to pay fee except in installments. Rule 1006(b). See Official
      Form 3A.                                                                                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                  to insiders or affiliates) are less than $2,190,000.
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
      attach signed application for the court’s consideration. See Official Form 3B.          Check all applicable boxes:
                                                                                                  A plan is being filed with this petition.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more
                                                                                                  classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                              THIS SPACE
                                                                                                                                                                     IS FOR COURT
       Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                        USE ONLY
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for distribution to
        unsecured creditors.
 Estimated Number of Creditors
     1-49               50-99             100-199      200-999      1,000-5,000     5,001-10,000        10,001-         25,001-         50,001-       Over 100,000
                                                                                                        25,000          50,000          100,000


 Estimated Assets
     $0 to           $50,001 to         $100,001 to   $500,001 to   $1,000,001 to   $10,000,001       $50,000,001     $100,000,001   $500,000,001     More than $1
    50,000            $100,000           $500,000      $1 million    $10 million      to $50            to $100         to $500       to $1 billion     billion
                                                                                      million           million          million


 Estimated Liabilities
     $0 to           $50,001 to         $100,001 to   $500,001 to   $1,000,001 to   $10,000,001       $50,000,001     $100,000,001   $500,000,001     More than $1
    50,000            $100,000           $500,000      $1 million    $10 million      to $50            to $100         to $500       to $1 billion     billion
                                                                                      million           million          million




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 B 1 (Official Form 1) (1/08)                                                                                                                        FORM B1, Page 2
          Voluntary Petition                                                                Name of Debtor(s):
 (This page must be completed and filed in every case)                                      Lazy Days’ R.V. Center, Inc.
                                       All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
 Location                                                                       Case Number:                      Date Filed:
 Where Filed:
 Location                                                                                   Case Number:                         Date Filed:
 Where Filed:
           Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                      Case Number:                     Date Filed:
 See attached Schedule 1
 District:                                                                                  Relationship:                        Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                                                (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                           whose debts are primarily consumer debts.)
 10Q with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I
        Exhibit A is attached and made part of this petition.                               have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                            12, or 13 of title 11, United States Code, and have explained the relief available
                                                                                            under each such chapter. I further certify that I have delivered to the debtor the
                                                                                            notice required by 11 U.S.C. § 342(b).

                                                                                                      X
                                                                                                          Signature of Attorney for Debtor(s)     (Date)


                                                                                Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.
        No. The Debtor is not aware of any definition of “imminent and identifiable harm” as used in this form. The Debtor does not believe it owns or possesses
        property that poses or is alleged to pose a threat of such harm. The Debtor owns or possesses property that is subject to investigation or remediation under
        environmental laws.
                                                                                  Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

        Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                Information Regarding the Debtor - Venue
                                                                       (Check any applicable box.)

       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
       preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
       has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
       this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                       (Check all applicable boxes.)

        Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                            (Name of landlord that obtained judgment)


                                                                                            (Address of landlord)

       Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire monetary default
       that gave rise to the judgment for possession, after the judgment for possession was entered, and
       Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the petition.
       Debtor certifies that he/she has served the Landlord with this certification (11 U.S.C. § 362(1)).



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 B 1 Official Form 1 (1/08)                                                                                                                           Form B1, Page 3
 Voluntary Petition                                                                             Name of Debtor(s):
 (This page must be completed and filed in every case)                                          Lazy Days’ R.V. Center, Inc.

                                                                                   Signatures
                   Signature(s) of Debtors(s) (Individual/Joint)                                                 Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is true      I declare under penalty of perjury that the information provided in this
 and correct.                                                                                   petition is true and correct, that I am the foreign representative of a debtor in
 [If petitioner is an individual whose debts are primarily consumer debts and has chosen        a foreign proceeding, and that I am authorized to file this petition.
 to file under chapter 7] I am ware that I may proceed under chapter 7, 11, 12 or 13 of
 title 11, United States Code, understand the relief available under each such chapter,         (Check only one box.)
 and choose to proceed under chapter 7.
                                                                                                     I request relief in accordance with chapter 15 of title 11, United States
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I
                                                                                                Code.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                     Certified copies of the documents required by 11 U.S.C. § 1515 are
 I request relief in accordance with the chapter of title 11, United States Code, specified     attached.
 in this petition.
                                                                                                    Pursuant to 11 U.S.C. § 1515, I request relief in accordance with the
 X                                                                                                  chapter of title 11 specified in this petition. A certified copy of the order
     Signature of Debtor                                                                            granting recognition of the foreign main proceeding is attached.
 X
     Signature of Joint Debtor                                                                  X
                                                                                                    (Signature of Foreign Representative)
     Telephone Number (if not represented by attorney)
                                                                                                    (Printed Name of Foreign Representative)
     Date
                                                                                                    Date

                              Signature of Attorney*                                                          Signature of Non-Attorney Petition Preparer
  X /s/ Robert S. Brady                                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition prepared
     Signature of Attorney for Debtor(s)                                                       as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation
                                                                                               and have provided the debtor with a copy of this document and the notices and
     Robert S. Brady                                                                           information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and (3) if
     Printed Name of Attorney for Debtor(s)                                                    rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                               setting a maximum fee for services chargeable by bankruptcy petition
     Young Conaway Stargatt & Taylor, LLP                                                      preparers, I have given the debtor notice of the maximum amount before
     Firm Name                                                                                 preparing any document for filing for a debtor or accepting any fee from the
                                                                                               debtor, as required in that section. Official Form 19 is attached.
     1000 West Street, 17th Floor, P.O. Box 391
     Address                                                                                        Printed Name and title, if any, of Bankruptcy Petition Preparer
     Wilmington, Delaware 19899-0391
     Address                                                                                        Social Security number (If the bankruptcy petition preparer is not an
     302-571-6600                                                                                   individual, state the Social Security number of the officer, principal,
     Telephone Number                                                                               responsible person or partner of the bankruptcy petition preparer.)
     November 5, 2009                                                                               (Required by 11 U.S.C. § 110.)
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information             Address
 in the schedule is incorrect.

                 Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the debtor.        Date
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.                                                              Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                person, or partner whose Social Security number is provided above.
 X /s/ Randall Lay
   Signature of Authorized Individual                                                           Names and Social Security numbers of all other individuals who prepared or
                                                                                                assisted in preparing this document unless the bankruptcy petition preparer is
     Randall Lay                                                                                not an individual.
     Printed Name of Authorized Individual
     Chief Financial Officer                                                                    If more than one person prepared this document, attach additional sheets
     Title of Authorized Individual                                                             conforming to the appropriate official form for each person.

     November 5, 2009
     Date                                                                                       A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                                11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




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                                      SCHEDULE 1

                                Names of Affiliate Debtors

RV Acquisition Inc., a Delaware corporation
LDRV Holdings Corp., a Florida corporation
LD Holdings, Inc., a Delaware corporation




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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                 )    Chapter 11
                                                       )
LAZY DAYS’ R.V. CENTER, INC., et al.,1                 )    Case No. 09-_________(___)
                                                       )
                          Debtors.                     )    Joint Administration Requested
                                                       )

                         CONSOLIDATED LIST OF CREDITORS
                     HOLDING THE 30 LARGEST UNSECURED CLAIMS

         Lazy Days’ R.V. Center, Inc. and its affiliates, as debtors and debtors in possession

(collectively, the “Debtors”), each filed a voluntary petition for relief under title 11 of the United

States Code. The following is the consolidated list of the Debtors’ creditors holding the 30

largest unsecured claims (the “Consolidated List”) based on the Debtors’ books and records as of

November 3, 2009. The Consolidated List is prepared in accordance with rule 1007(d) of the

Federal Rules of Bankruptcy Procedure for filing in these chapter 11 cases. The Consolidated

List does not include (1) persons who come within the definition of “insider” set forth in 11

U.S.C. § 101(31) or (2) secured creditors, unless the value of the collateral is such that the

unsecured deficiency places the creditor among the holders of the 30 largest unsecured claims on

a consolidated basis. None of these creditors are minor children. The information contained

herein shall neither constitute an admission of liability by, nor is it binding on, the Debtors. The

information herein, including the failure of the Debtors to list any claim as contingent,

unliquidated or disputed, does not constitute a waiver of the Debtors’ right to contest the validity,

priority or amount of any claim.


1   The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are: Lazy Days’
    R.V. Center, Inc. (4794); LD Holdings, Inc. (1834); LDRV Holdings Corp. (6915); and RV Acquisition Inc.
    (1630). The location of the Debtors’ corporate headquarters and the service address for all Debtors is: 6130
    Lazy Days Boulevard, Seffner, Florida 33584-2968.



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                                                    (2)                                                  (4)
                                                                                   (3)
                                        Name, telephone number and                              Indicate if claim is           (5)
                                                                            Nature of claim
             (1)                    complete mailing address, including                             contingent,          Amount of claim
                                                                           (trade debt, bank
        Name of creditor              zip code of employee, agents, or                             unliquidated,        (secured also state
                                                                           loan, government
                                    department of creditor familiar with                        disputed or subject     value of security)
                                                                             contracts, etc.)
                                        claim who may be contacted                                   to set off2
                                   Attn: Corporate Trust Trustee
                                   Administration                          Lazy Days’
1.     The Bank of New York        101 Barclay Street, Floor 8W            11.75% Notes                                $137,800,000.00
                                   New York, NY 10286                      due 2012
                                   (212)815-5360
                                   PO Box 16402
2.     Monaco Coach Corp.          Chicago IL 60696                        Trade Debt                                  $329,121.13
                                   (800)634-0855
                                   22703 Network Place
       United Healthcare
3.                                 Chicago, IL 60673-1227                  Insurance Claim                             $206,090.44
       Insurance Co
                                   (813)890-4500
                                   PO Box 90018
       Camping World               1355 Windward Concourse
4.                                                                         Trade Debt                                  $96,001.48
       Inc/Corporate               Bowling Green, KY 42101-9018
                                   (813)623-5848
                                   PO Box 15731                            Bank of America
       Bank of America
5.                                 Wilmington, DE 19886-5731               Corporate Credit                            $92,148.89
       Epayables
                                   (757)533-7561                           Card Program
                                   PO Box 828854
       Allied Barton Security
6.                                 Philadelphia, PA 19182                  Trade Debt                                  $65,636.46
       Service
                                   (813)620-6621
                                   PO Box 405133
7.     Stag-Parkway, Inc.          Atlanta, GA 30384                       Trade Debt                                  $59,640.62
                                   (800)955-7824
                                   14620 Bellamy Brothers Blvd.
       Cornerstone Tree Farm,
8.                                 Dade City, FL 33523                     Trade Debt                                  $51,500.42
       Inc.
                                   (352)588-2235
                                   PO Box 2115
9.     Wade RV, Inc.               Valrico, FL 33594                       Trade Debt                                  $50,382.48
                                   (813)626-8697
                                   3125 Myers Street
10.    Fleetwood RV Inc            Riverside, CA 92513                     Trade Debt                                  $43,296.21
                                   (260)724-5721
                                   2271 Bellair Road
11.    G.A. Nichols Company        Clearwater, FL 33764                    Trade Debt                                  $40,300.00
                                   (727)561-0509
                                   Po Box 1750
12.    Coast Distribution System   Morgan Hill, CA 95038-1750              Trade Debt                                  $29,166.23
                                   (800)966-1313
                                   PO Box 448
13.    Lightning RV Supply         Thonotosassa, FL 33592                  Trade Debt                                  $28,226.46
                                   (813)986-3442
                                   Po Box 856169
14.    Qwest Inc                   Louisville, KY 40285-6169               Trade Debt                                  $27,681.94
                                   (800)569-0771
                                   6015 Benjamin Rd. S# 332
15.    Sherwin Williams            Tampa, FL 33634                         Trade Debt                                  $26,904.38
                                   (813)901-5833
                                   Po Box 330
16.    U.S. Food Service           Lakeland, FL 33802-0330                 Trade Debt                                  $25,845.79
                                   (800)688-2860



2     As noted above, the Debtors reserve their rights to dispute the claims on this schedule on any basis.




                                                                    2
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                                                   (2)                                                  (4)
                                                                                  (3)
                                       Name, telephone number and                              Indicate if claim is           (5)
                                                                           Nature of claim
            (1)                    complete mailing address, including                             contingent,          Amount of claim
                                                                          (trade debt, bank
       Name of creditor              zip code of employee, agents, or                             unliquidated,        (secured also state
                                                                          loan, government
                                   department of creditor familiar with                        disputed or subject     value of security)
                                                                            contracts, etc.)
                                       claim who may be contacted                                   to set off2
                                  10002 Williams Road
17.   Sundial Ltd, Inc.           Tampa, FL 33624                         Trade Debt                                  $24,671.38
                                  (813)960-4336
                                  4119 Gunn Highway, Suite 16
18.   Sayyah’s Cleaning, Inc.     Tampa, FL 33618                         Trade Debt                                  $24,196.64
                                  (813)961-1445
                                  450 Skokie Blvd, Ste 1000
      First Insurance Funding
19.                               Northbrook, IL 60062                    Insurance Claim                             $20,157.89
      Corp.
                                  (800)837-3707
                                  P O Box 24903
20.   Country Coach, Inc.         Seattle, WA 98124-1903                  Trade Debt                                  $19,092.81
                                  (800)547-8015
                                  BON APPETIT CATERERS LLC
      Ricky Martinez dba Bon      926 La Maison Rd
21.                                                                       Trade Debt                                  $18,443.00
      Appetit                     Duson, LA 70529
                                  (337)873-0269
                                  1600 E Busch Blvd
22.   Interstate Battery          Tampa, FL 33612                         Trade Debt                                  $17,011.43
                                  (813)932-0108
                                  PO Box 16768
23.   Lupton’s Catering           Tampa, FL 33687-6768                    Trade Debt                                  $15,913.95
                                  (813)985-6963
                                  Po Box 152
24.   Winnebago                   Forest City, IA 50436                   Trade Debt                                  $15,001.75
                                  (641)585-6282
                                  323 Lynn Ette Place
      SMC Diversified Services,   Attention: Rick Winters
25.                                                                       Trade Debt                                  $14,895.00
      Inc.                        Lakeland, FL 33809
                                  (863)698-9696
                                  22 Ne 22Nd Avenue
      United States Warranty
26.                               Pompano Beach, FL 33062                 Trade Debt                                  $14,466.29
      Corp
                                  (800)432-4566
                                  PO Box 281395
27.   Radio Shack                 Atlanta, GA 30384-1395                  Trade Debt                                  $12,947.15
                                  (817)415-2295
                                  PO Box 536823
28.   Lane Furniture Industries   Atlanta, GA 30353                       Trade Debt                                  $12,508.18
                                  (727) 612-0998
                                  5236 Reliable Parkway
29.   Duncan Systems, Inc.        Chicago, IL 60686                       Trade Debt                                  $12,474.00
                                  (800)551-9149
                                  PO Box 803249
30.   Coach Net                   Dallas, TX 75380                        Trade Debt                                  $12,007.00
                                  (928)855-2329




                                                                   3
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                    DECLARATION UNDER PENALTY OF PERJURY


       Pursuant to 28 U.S.C. § 1746, I, Randall Lay, the duly qualified and elected Chief

Financial Officer of Lazy Days’ R.V. Center, Inc., declare under penalty of perjury that I have

reviewed the foregoing Consolidated List and that it is true and correct to the best of my

information and belief.


Dated: November 5, 2009                         /s/ Randall Lay
                                                Randall Lay
                                                Chief Financial Officer




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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                           )    Chapter 11
                                                 )
LAZY DAYS’ R.V. CENTER, INC.                     )    Case No. 09-_________(___)
                                                 )
                        Debtor.                  )    Joint Administration Requested
                                                 )


                      STATEMENT PURSUANT TO RULES 1007(A) AND
              7007.1 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         Pursuant to rules 1007(a) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

above captioned debtor and debtor in possession (the “Debtor”) states as follows:

         1.      The following entities directly or indirectly own 10% or more of the equity
                 interests in the Debtor:

                        LD Holdings, Inc.
                        RV Acquisition Inc.
                        Bruckmann, Rosser, Sherrill & Co., II, L.P.
                        Donald W. Wallace




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                    DECLARATION UNDER PENALTY OF PERJURY


       Pursuant to 28 U.S.C. § 1746, I, Randall Lay, the duly qualified and elected Chief

Financial Officer of Lazy Days’ R.V. Center, Inc., declare under penalty of perjury that I have

reviewed the foregoing list of equity security holders and that it is true and correct to the best of

my information and belief.


Dated: November 5, 2009                            /s/ Randall Lay
                                                   Randall Lay
                                                   Chief Financial Officer




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                                      CERTIFICATE

       The undersigned, Linda Stephens, Secretary of Lazy Days’ R.V. Center, Inc.
(the “Corporation”), a Florida corporation, hereby certifies as follows:

        1.   I am the duly qualified and elected Secretary of the Corporation and, as such, I
             am familiar with the facts herein certified, and I am duly authorized to certify the
             same on behalf of the Corporation.

        2.   Attached hereto is a true, complete, and correct copy of the resolution of the
             Board, duly adopted at a properly convened meeting of the Board on October 27,
             2009, by the members constituting a majority of the votes of the quorum of the
             directors there present, in accordance with the bylaws of the Corporation.

        3.   Such resolution has not been amended, altered, annulled, rescinded, or revoked
             and is in full force and effect as of the date hereof. There exists no other
             subsequent resolution of the Board of the Corporation relating to the matters set
             forth in the resolution attached hereto.

             IN WITNESS WHEREOF, the undersigned has executed this certificate as of the
November 5, 2009.


                                           LAZY DAYS’ R.V. CENTER, INC.


                                           /s/ Linda Stephens

                                           Name: Linda Stephens
                                           Title: Secretary




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                                  Lazy Days’ R.V. Center, Inc.

                              Resolution of the Board of Directors

               Effective as of this 27th day of October, 2009, the members constituting a
majority of the votes of a quorum of the board of directors (collectively, the “Board”) of Lazy
Days’ R.V. Center, Inc., a Florida corporation (the “Corporation”), took the following actions
and adopted the following resolutions:

                WHEREAS, the Corporation and certain of its affiliates, Bank of America, N.A.
and KeyBank National Association, each in its capacity as a lender under the Credit Agreement
(defined below), and certain holders of the Senior Notes (as defined below) have been
negotiating restructuring and recapitalization transactions (collectively, the “Transactions”) with
respect to the debt of the Corporation and/or its affiliates, as applicable, including the obligations
under (i) the Third Amended and Restated Credit Agreement, originally dated as of July 15,
1999, amended and restated as of July 31, 2002, May 14, 2004, and February 22, 2007 and as
subsequently amended January 14, 2008, April 14, 2008, August 30, 2008, September 1, 2008
and December 31, 2008 (the “Credit Agreement”) and (ii) the 11 3/4% Senior Notes due 2012
(the “Senior Notes”) in the aggregate original principal amount of $152 million issued under the
Indenture, dated May 14, 2004 (the “Indenture”), by and between the Corporation, as issuer, and
The Bank of New York Mellon, as indenture trustee;

               WHEREAS, the Corporation and certain of its affiliates entered into a Plan Term
Sheet (“Plan Term Sheet”), dated as of September 4, 2009, executed by and among the
Corporation, BRS (as such term is defined therein) and each member of the Committee (as such
term is defined therein);

              WHEREAS, the Board has reviewed the materials presented by the management
and the advisors of the Corporation regarding the liabilities and liquidity situation of the
Corporation, the strategic alternatives available to it, and the impact of the foregoing on the
Corporation’s businesses;

              WHEREAS, the Board has had the opportunity to consult with the management
and the advisors of the Corporation and fully consider the strategic alternatives available to the
Corporation;

               WHEREAS, the Board has reviewed the terms of the Corporation’s proposed
prepackaged chapter 11 plan of reorganization (the “Prepackaged Plan”) and related disclosure
statement (the “Disclosure Statement”) and all material documents related thereto;

               WHEREAS, the Corporation commenced solicitation of the Prepackaged Plan on
September 4, 2009 to creditors eligible to cast votes to accept or reject the Prepackaged Plan
pursuant to Section 1129 of chapter 11 of title 11 of the United States Code (the “Solicitation”);

             WHEREAS, the Corporation established October 2, 2009, as the deadline by
which all votes regarding Solicitation of the Prepackaged Plan were to be returned for
recordation;



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               WHEREAS, the Corporation received a voting report regarding Solicitation of
the Prepackaged Plan on October 5, 2009, indicating that more than two-thirds in dollar amount
and one-half in number of voting creditors in Class 3 (as such term is defined in the Prepackaged
Plan) voted to accept the Prepackaged Plan;

               WHEREAS, the Board has considered the current Solicitation of votes for the
Prepackaged Plan and the acceptance of the Prepackaged Plan by Class 3, which is the only
impaired class under the Prepackaged Plan and therefore the only class entitled to vote;

I.       Voluntary Petition Under the Provisions of Chapter 11 of the United States
         Bankruptcy Code

                 NOW, THEREFORE, BE IT RESOLVED, that all acts and actions taken by
the Authorized Officers (as defined below) prior to the date hereof with respect to distribution of
the Disclosure Statement and the Solicitation of votes for the Prepackaged Plan be, and hereby
are, in all respects confirmed, approved and ratified;

               FURTHER RESOLVED, that, to effectuate the Plan Term Sheet and the
Transactions contemplated in connection therewith, it will, in the judgment of the Board, be
desirable and in the best interests of the Corporation, its creditors and other interested parties,
that a voluntary petition be filed by the Corporation under the provisions of chapter 11 of title 11
of the United States Code (a “Voluntary Petition”) in the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”);

               FURTHER RESOLVED, that John Horton, Chief Executive Officer, and
Randall Lay, Chief Financial Officer (each an “Authorized Officer” and, collectively, the
“Authorized Officers”), acting alone or together, be, and hereby are, authorized to file the
Prepackaged Plan and related Disclosure Statement and all materials related thereto with the
Bankruptcy Court, if and when the Global Settlement Agreement (defined below) is final, and to
seek confirmation of the Prepackaged Plan as expeditiously as possible and to take such steps as
are necessary to consummate the Prepackaged Plan as soon as practicable after confirmation
consistent with the terms of the Plan Term Sheet;

                FURTHER RESOLVED, that the Authorized Officers, acting alone or together,
be, and hereby are, authorized and empowered to finalize negotiations and enter into a global
settlement (the “Global Settlement Agreement”), by and among the Corporation, I-4 Land
Holding Limited Company and Don Wallace. The Global Settlement Agreement shall be on
terms substantially consistent with those described in the Board Meeting of even date including:
(i) Wallace and I-4 to receive up to $300K in fees reimbursed, dismissal of the rent lawsuit, and
agreement that his rent calculation is correct; (ii) the Company to receive the agreement of
Wallace and I-4 not to object to Prepackaged Plan or related transactions, and a commitment to
sign future estoppel certificates consistent with those signed historically; and (iii) mutual releases
to be exchanged by all parties, be, and hereby is, in all respects, approved;

              FURTHER RESOLVED, that the Authorized Officers, acting alone or together,
be, and hereby are, authorized and empowered to execute and/or file on behalf of the
Corporation the Voluntary Petition and all schedules, lists, motions, applications, pleadings and




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other papers or documents as necessary to commence the case and obtain chapter 11 relief,
including but not limited to motions to obtain the use of cash collateral and provide adequate
protection therefor (as provided for below) (the “First Day Papers”), and to take any and all
further acts and deeds that they deem necessary, proper and desirable in connection with the
Voluntary Petition and the Prepackaged Plan, with a view to the successful prosecution of such
case;

               FURTHER RESOLVED, that the Authorized Officers, acting alone or together,
be, and hereby are, authorized and empowered on behalf of, and in the name of, the Corporation
to execute and verify or certify the First Day Papers, as required for filing with the Bankruptcy
Court, and in such form as such Authorized Officers, acting alone or together, may approve;

                FURTHER RESOLVED, that the Authorized Officers, acting alone or together,
be, and hereby are, authorized and directed to employ the law firm of Kirkland & Ellis LLP as
counsel to represent and assist the Corporation in carrying out its duties under title 11 of the
United States Code, and to take any and all actions to advance the Corporation’s rights and
obligations, including filing any pleadings; and in connection therewith, the Authorized Officers
acting alone or together, be, and hereby is authorized and directed to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon filing of the
Voluntary Petition and cause to be filed an appropriate application for authority to retain the
services of Kirkland & Ellis LLP;

               FURTHER RESOLVED, that the Authorized Officers acting alone or together,
be, and hereby are, authorized and directed to employ the law firm of Young Conaway Stargatt
& Taylor LLP as local bankruptcy and conflicts counsel to represent and assist the Corporation
in carrying out its duties under title 11 of the United States Code, and to take any and all actions
to advance the Corporation’s rights and obligations, including filing any pleadings; and in
connection therewith, the Authorized Officers acting alone or together, be, and hereby is
authorized and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon filing of the Voluntary Petition and cause to be filed an
appropriate application for authority to retain the services of Young Conaway Stargatt &
Taylor LLP;

               FURTHER RESOLVED, that the Authorized Officers, acting alone or together,
be, and hereby are, authorized and directed to employ the firm of Macquarie Capital (USA) Inc.
as financial advisors to represent and assist the Corporation in carrying out its duties under title
11 of the United States Code, and to take any and all actions to advance the Corporation’s rights
and obligations; and in connection therewith, the Authorized Officers, acting alone or together,
be, and hereby are, authorized and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Voluntary Petition, and to
cause to be filed an appropriate application for authority to retain the services of Macquarie
Capital (USA) Inc.;

                FURTHER RESOLVED, that the Authorized Officers, acting alone or together,
be, and hereby are, authorized and directed to employ the firm of Epiq Bankruptcy
Solutions, LLC as notice, claims and balloting agent to represent and assist the Corporation in
carrying out its duties under title 11 of the United States Code, and to take any and all actions to



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advance the Corporation’s rights and obligations; and in connection therewith, the Authorized
Officers, acting alone or together, be, and hereby are, authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Voluntary Petition, and to cause to be filed an appropriate application for authority
to retain the services of Epiq Bankruptcy Solutions, LLC;

               FURTHER RESOLVED, that the Authorized Officers, acting alone or together,
be, and hereby are, authorized and directed to employ the firm of Crowe Horwath LLP as tax
advisors to represent and assist the Company in carrying out its duties under title 11 of the
United States Code, and to take any and all actions to advance the Company’s rights and
obligations; and in connection therewith, the Authorized Officers, acting alone or together, be,
and hereby are, authorized and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Voluntary Petition, and to
cause to be filed appropriate applications for authority to retain the services of Crowe Horwath
LLP; and

                FURTHER RESOLVED, that the Authorized Officers, acting alone or together,
be, and hereby are, authorized and directed to employ any other professionals to assist the
Corporation in carrying out its duties under title 11 of the United States Code; and in connection
therewith, the Authorized Officers acting alone or together, be, and hereby are authorized and
directed to execute appropriate retention agreements, pay appropriate retainers prior to or
immediately upon the filing of the Voluntary Petition and cause to be filed an appropriate
application for authority to retain the services of any other professionals as necessary.

II.      Post-Petition Credit Agreement

                RESOLVED, that the Authorized Officers, acting alone or together, be, and
hereby are, authorized to negotiate and enter into the Post-Petition Credit Agreement, by and
among the Corporation and its affiliates, as debtors, Bank of America, N.A., as administrative
agent and collateral agent (“DIP Agent”), and the lenders party thereto (the “DIP Lenders”), as
set forth in the Plan Term Sheet and the Restructuring Term Sheet (the “DIP Credit Facility”).
The Corporation’s performance of its obligations as Borrower under the DIP Credit Facility on
terms substantially consistent with those set forth in the Plan Term Sheet, be, and hereby are, in
all respects, approved;

               FURTHER RESOLVED, that the form, terms and provisions of each of the
instruments and documents listed below (collectively, the “DIP Loan Documents”), are hereby in
all respects approved on terms substantially consistent with those set forth in the Plan Term
Sheet, and the Corporation’s performance of its obligations under the DIP Loan Documents be,
and hereby are, in all respects approved on terms substantially consistent with those set forth in
the Plan Term Sheet, and that the Authorized Officers, acting alone or together, be, and hereby
are, authorized and empowered to negotiate, execute and deliver the DIP Loan Documents, in the
name and on behalf of the Corporation under its corporate seal or otherwise, substantially
consistent with those set forth in the Plan Term Sheet, with such changes therein and
modifications and amendments thereto as the Authorized Officers approve, such approval to be
conclusively evidenced by the taking of such action or by the execution and delivery thereof;




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         A.      certain guarantee and collateral agreements and such agreements, assignments or
                 instruments (including affidavits, financing statements, notices, reaffirmations,
                 stock powers and amendments and restatements of existing documents) as may be
                 required thereunder;

         B.      any (i) copyright security agreement, (ii) patent security agreement and
                 (iii) trademark security agreement, together with any amendments thereof, such
                 security agreements, notices, financing statements, tax affidavits, and other
                 instruments as the DIP Agent may reasonably request or as may be necessary or
                 appropriate to create, preserve and perfect the liens purported to be required
                 pursuant to the DIP Loan Documents to be created in the collateral to be
                 described therein as collateral security for the payment of obligations, advances,
                 debts or liabilities related to the Corporation’s obligations;

         C.      a mortgage or deed of trust, if any, on each parcel of real property owned by the
                 Corporation and a leasehold mortgage, if any, on each parcel of real property
                 leased by the Corporation;

         D.      such forms of deposit account control agreement, letters of credit security
                 agreement, other various types of security agreements, landlord personal property
                 collateral access agreements, landlord waivers, officer’s certificates and
                 compliance certificates as may be required by the DIP Credit Facility or any other
                 DIP Loan Document; and

         E.      such other instruments, certificates, notices, assignments and documents as may
                 be requested by the DIP Agent pursuant to the DIP Loan Documents;

               FURTHER RESOLVED, that the Board hereby authorizes the Corporation to
grant liens and security interests in and to all of the Corporation’s assets of whatever kind in
favor of the DIP Agent as collateral to secure the obligations in the DIP Loan Documents and the
Board hereby authorizes the DIP Agent to file any financing statements (including financing
statements describing the collateral as “all assets,” “all personal property” or with words of
similar import), assignments for security or other documents in the name of the Corporation as
may be necessary or desirable to perfect the security interests granted to the DIP Lenders in the
DIP Loan Documents;

                FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and empowered to take all such further actions including, without limitation, to pay
all fees and expenses, in accordance with the terms of the DIP Loan Documents, to arrange for
and enter into supplemental agreements, amendments, instruments, certificates or documents
relating to the transactions contemplated by the Plan Term Sheet and or any of the other DIP
Loan Documents and to negotiate, execute and deliver all such supplemental agreements,
amendments, instruments, certificates or documents in the name and on behalf of the
Corporation under its corporate seal or otherwise, which shall in their sole judgment be
necessary, proper or advisable in order to perform the Corporation obligations under or in
connection with the Plan Term Sheet and the DIP Loan Documents and the transactions
contemplated therein, and to carry out fully the intent of the foregoing resolutions;



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               FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and empowered to execute and deliver any amendments, amendment and
restatements, supplements, modifications, renewals, replacements, consolidations, substitutions
and extensions of the DIP Loan Documents which shall in their sole judgment be necessary,
proper or advisable;

                FURTHER RESOLVED, that all acts and actions taken by the Authorized
Officers prior to the date hereof with respect to the transactions contemplated by the Plan Term
Sheet and the DIP Loan Documents be, and hereby are, in all respects confirmed, approved and
ratified; and

              FURTHER RESOLVED, that all capitalized terms used in the resolutions under
the caption “POST-PETITION CREDIT AGREEMENT” and not otherwise defined herein shall
have the meanings ascribed to such terms in the Plan Term Sheet.

III.     Ratification of All Prior and Future Actions

               RESOLVED, that in addition to the specific authorizations heretofore conferred
upon the Authorized Officers, each of the officers of the Corporation or their designees shall be,
and each of them, acting alone, hereby is, authorized, directed and empowered, in the name of,
and on behalf of, the Corporation, to take or cause to be taken any and all such further actions, to
execute and deliver any and all such agreements, certificates, instruments and other documents
and to pay all expenses, including filing fees, in each case as in such officer or officers’
judgment shall be necessary or desirable to fully carry out the intent and accomplish the purposes
of the Resolutions adopted herein; and

              FURTHER RESOLVED, that all acts, actions and transactions relating to the
matters contemplated by the foregoing Resolutions done in the name of and on behalf of the
Corporation, which acts would have been approved by the foregoing Resolutions except that
such acts were taken before these resolutions were certified, are hereby in all respects approved
and ratified.




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